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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)
                                                    1
                                         Debtors.               (Jointly Administered)


                      NOTICE OF MATTERS SCHEDULED FOR HEARING ON
                                JULY 31, 2023 at 11:00 A.M. (ET)


        PLEASE TAKE NOTICE that on May 22, 2023 the United States Bankruptcy Court for
 the District of New Jersey (the “Court”) entered the Order (I) Establishing Procedures to Sell

 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.
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 Certain Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief
 [Docket No. 422] (the “Lease Sale Procedures Order”), 2 by which the Court, among other things,
 approved expedited procedures for the assumption and assignment of unexpired leases and granted
 related relief.

        PLEASE TAKE FURTHER NOTICE that on June 27, 2023, the Debtors filed the Notice
 of Successful and Backup Bidder with Respect to the Phase 1 Auction of Certain of the Debtors’
 Lease Assets and Assumption and Assignment of Certain Unexpired Leases [Docket No. 1114]
 which set the Lease Sale Objection deadline as July 11, 2023 at 5:00 p.m. (prevailing Eastern
 Time) with respect to any lease in the Phase 1 Lease Sale Process.

        PLEASE TAKE FURTHER NOTICE on June 30, 2023, the Debtors filed the Notice of
 Assumption of Certain Unexpired Leases [Docket No. 1157] which set the Assumption Objection
 deadline as July 11, 2023 at 5:00 p.m. (prevailing Eastern Time) with respect to any lease in the
 Phase 1 Lease Sale Process.

        PLEASE TAKE FURTHER NOTICE that on July 20, 2023, the Debtors filed the Notice
 of Successful and Backup Bidder with Respect to the Phase 2 Auction of Certain of the Debtors’
 Lease Assets and Assumption and Assignment of Certain Unexpired Leases [Docket No. 1428]
 which set the Lease Sale Objection (together with the Phase 1 Lease Sale Objection and
 Assumption Objection, the “Lease Objection”) deadline as July 25, 2023 at 5:00 p.m. (prevailing
 Eastern Time) with respect to any lease in the Phase 2 Lease Sale Process.

        PLEASE TAKE FURTHER NOTICE that a hearing to consider these matters is
 scheduled for July 31, 2023, at 11:00 a.m. (prevailing Eastern Time) (the “Hearing”).

       PLEASE TAKE FURTHER NOTICE that the Lease Sales identified on Exhibit A,
 annexed hereto, are resolved and the Debtors will seek approval of these sales at the Hearing.

        PLEASE TAKE FURTHER NOTICE that the Lease Sales identified on Exhibit B will
 be adjourned to a date to be set by the Court.

        PLEASE TAKE FURTHER NOTICE that if you resolved your Lease Objection with
 the Debtors’ counsel, you do not need to attend the Hearing.



                               [Remainder of Page Intentionally Left Blank]




 2   All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Lease
     Sale Procedures Order or the Debtors’ Motion for Entry of an Order (I) Establishing Sales Procedures,
     (II) Approving the Sale of Certain Real Property and Leases, and (III) Granting Related Relief [Docket No. 193],
     as applicable.
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Dated: July 30, 2023
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                                                       Exhibit A

                                                    Resolved Matters

                                                                                        Objection
Store No.                   Address                    City/State           Assignee     (Docket    Cure Amount
                                                                                        Number)
   86       10011 East 71st Street                     Tulsa, OK       Dicks Sporting        1240          $11,901.75
                                                                       Goods
  3053      10011 East 71st Street                     Tulsa, OK       Dicks Sporting        1512           $7,225.53
                                                                       Goods
  812       63455 North Highway 97                      Bend, OR       Scandinavian          1523          $16,873.81
                                                                       Designs
  3037      711 Route 28                             Bridgewater, NJ   Dream on Me           996,          $75,000.00
                                                                                            1096,
                                                                                            1364,
                                                                                            1509
  3046      501 West Main St                           Newark, DE      Dream on Me           1188          $30,563.37

  3060      160 Granite Street                        Braintree, MA    Dream on Me           1518          $51,925.40
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                                                           Exhibit B

                                               Matters Adjourned to August

                                                                                           Objection
Store No.                  Address                         City/State           Assignee    (Docket    Cure Amount
                                                                                           Number)
                                                                                                        Subject to further
  3108      149 Serramonte Center                        Daly City, CA                          1328
                                                                          Burlington                       reconciliation
                                                                                               1340,    Subject to further
  126       12520 Fountain Lake Circle                    Stafford, TX
                                                                          Burlington           1344        reconciliation
                                                                          Scandinavian                  Subject to further
  301       2719 Edmondson Road                          Cincinnati, OH                         1326
                                                                          Designs                          reconciliation
                                                                                                        Subject to further
  1142      2203 Promenade Boulevard                      Rogers, AR                            1323
                                                                          Michaels                         reconciliation
                                                                                                                 $159.91
  1107      1050 McKinley Place Drive                   San Marcos, TX                          1360
                                                                          Ollie’s
                                                                                                        Subject to further
  3076      3700 West Torrance Blvd                      Torrance, CA                           1320
                                                                          A&M Properties                   reconciliation
